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                                                                                                                                    Criminal Std (6/13/2012)
                                                                        H ON ORABLE: Robert Spector
                                                    DEPUTY CLERK A. Walker            RPTR/ECRO/TAPE FTR
                                                    USPO Mark Meyers                  INTERPRETER
TOTAL TIM E:              hours 14       minutes
                                                    D ATE: 10/4/2018 START TIM E: 12:11 pm                        EN D TIM E: 12:25 pm
                                                          COURTROOM MINUTES
  IA-INITIAL APPEAR                      BOND HRG                            CHANGE OF PLEA                      IN CAM ERA HRG
  IA- RULE 5                             DETENTION HRG                         WAIVER/PLEA HRG                   COM PETENCY HRG
  ARRAIGNMENT                             PROBABLE CAUSE                       EXTRADITION HRG                   FORFEITURE
  CONFLICT HRG                           EVIDENTIARY HRG                     STATUS CONF                         MOTION HRG



     CRIM INAL NO. 18-cr-220 (JCH)                       DEFT # ______                     Jocelyn Kaoutzanis
                                                                                           AUSA
                UNITED STATES OF AMERICA
                          vs                                                             John M. Andreini
     Vashun Lewis                                                                        Counsel for Defendant Ret          CJA           PDA



  . . . . . . . Deft failed to appear. Oral M otion for issuance of Warrant      granted      denied       Bond FORFEITED
  ......      Arrest Date (C T Case): 10/4/2018                   Case unsealed or      Rule 5 arrest,            Dist of
  . . . . . . CJA 23 Financial Affidavit filed       under seal
  . . . . . . Order Appointing Federal Public Defender’s Office filed
  . . . . . . Court appoints Attorney Andreini                           to represent defendant for       this proceeding only         all proceedings
  . . . . . . Appearance of                                                          filed
  ......       Complaint filed       Sealed Complaint filed           Affidavit of                                          filed
  ......       Information/M isdemeanor filed           Sealed Information filed
  ......       Waiver of Indictment (case opening) filed              Felony Information filed
  ......       Waiver of Indictment (mid case) filed              Superseding Information filed
  . . . . . . Plea Agreement Ltr filed     under seal       to be e-filed
    . . . . . . Plea of    not guilty   guilty      nolo contendere to count(s) 1-2             of the Indictment
  . . . . . . Petition to Enter Guilty Plea filed                                                      (indict, superseding indict, info)
  . . . . . . Defendant motions due                                   ; Government responses due
  . . . . . . Scheduling Order       filed    to be filed   Sentencing Scheduling Order
  . . . . . . . Hearing on Pending M otions scheduled for                       at
  . . . . . . Jury Selection set for 11/5/2018                       at 9:00 am
  . . . . . . Remaining Count(s) to be dismissed at sentencing
  . . . . . . Sentencing set for                            at                          Probation 246B Order for PSI & Report
  . . . . . . Special Assessment of $___________ on count(s)___________. Total $ _________         Due immediately    Pay at sentencing
  . . . . . . Govt’s M otion for Pretrial Detention filed        GRANTED            DENIED       ADVISEMENT
  . . . . . . Govt’s        M otion for Pretrial Detention   GRANTED          DENIED               ADVISEMENT
  . . . . . . Order of Detention filed
  . . . . . . Deft ordered removed/committed to originating /another District of
  . . . . . . No bond set at this time, Order of Temporary Detention Pending Hearing              filed      to be filed
  . . . . . . Waiver of Rule 5 Hearing filed
  . . . . . . Govt’s M otion for waiver of 10-day notice          GRANTED      G DENIED G ADVISEMENT
  . . . . . . Bond   set at $                            reduced to $                        Non-surety       Surety       Personal Recognizance
  . . . . . . Bond    revoked       reinstated       continued      modified
  . . . . . . Defendant detained
  ......                  Hearing        waived       set for                                     continued until
  . . . . . . Set Attorney Flag and notify Federal Grievance Clerk
                                                                  SEE page II for      conditions of bond       additional proceedings
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                                                       CONDITIONS OF BOND



. . . . . Travel restricted to Connecticut of extended to
          upon obtaining permission from USPO. A motion for any other travel with copies to the Govt and to USPO must be filed
          and approved by the Court.

 . . . . . Deft must reside at


. . . . . . Deft must report to USPO               times a   G week Gmonth G by telephone G in person G at USPO             discretion.

. . . . . . Deft    must surrender passport by 4: 00 p. m. on                   ;       M ust not apply for a passport.

. . . . . . . Deft must refrain from the possession of firearms or dangerous weapons.

. . . . . . Deft must maintain employment or actively seek employment.

. . . . . . Deft must refrain from use or unlawful possession, or distribution of a narcotic drug.

. . . . . . as set forth in the Order Setting Conditions of Release

.......




                                                  ADDITIONAL PROCEEDINGS



. . . . . . Deft’s oral motion                                                                         granted    denied     advisement
...... Deft’s oral motion                                                                              granted    denied      advisement
. . . . . . . Deft’s oral motion                                                                       granted    denied      advisement
. . . . . . . Deft’s oral motion                                                                       granted     denied      advisement
. . . . . . Govt’s oral motion                                                                         granted     denied     advisement
. . . . . . Govt’s oral motion                                                                         granted    denied      advisement
. . . . . . Govt’s oral motion                                                                         granted    denied      advisement
. . . . . . Govt’s oral motion                                                                         granted     denied     advisement
...... #           Deft                      M otion                                                   granted     denied     advisement
...... #           Deft                      M otion                                                   granted     denied     advisement
...... #           Govt M otion                                                                        granted     denied     advisement
...... #           Govt M otion                                                                        granted     denied     advisement
......                                                                                        filed    granted    denied      advisement
 ......                                                                                       filed    granted     denied     advisement
......                                                                                        filed    granted    denied     advisement
......                                                                                        filed    granted    denied     advisement
......                                                                                         filed    granted    denied    advisement
